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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA


United States of America,                                  Crim. No. 10-165 (DSD/JJK)

                       Plaintiff,
                                                                       Order
v.

(2) Nathan Daniel Jesh,

                   Defendant.


Charles J. Kovats, Esq., and John R. Marti, Esq., Assistant United States Attorneys, counsel for
Plaintiff.

Lyonel Norris, Esq., counsel for Defendant Jesh.


        The above matter comes before the court upon the Report and Recommendation of

United States Magistrate Judge Jeffrey J. Keyes dated September 10, 2010. No objections have

been filed to that Report and Recommendation in the time period permitted. Based on the

Report and Recommendation of the Magistrate Judge, on all of the files, records, and

proceedings herein, the court now makes and enters the following order.

        IT IS HEREBY ORDERED that:

        1.     Defendant’s Pretrial Motion to Suppress Evidence (Doc. No. 40), is DENIED;

and

        2.     Defendant’s Pretrial Motion to Suppress Evidence Obtained as a Result of Search

and Seizure (Doc. No. 41), is DENIED.


Date:   October 13, 2010
                                                    s/David S. Doty
                                                    David S. Doty
                                                    United States District Judge
